Case 8:25-cv-00243-TDC   Document 1-7   Filed 01/27/25   Page 1 of 10




                  Exhibit F
       Case 8:25-cv-00243-TDC      Document 1-7    Filed 01/27/25    Page 2 of 10




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND


 Philadelphia Yearly Meeting of the
 Religious Society of Friends, et al.,

                Plaintiffs,

 v.

 U.S. Department of Homeland
 Security, et al.,                                    Civil Case No. ___________

               Defendants.



               DECLARATION OF CHRISTIE DUNCAN-TESSMER

      I, Christie Duncan-Tessmer, declare under penalty of perjury, under 28 U.S.C.

§ 1746, that the following is true and correct:

The history and structure of Philadelphia Yearly Meeting of the Religious
                           Society of Friends

      1. Philadelphia Yearly Meeting is a formal and legal association of local

         Quaker congregations in Pennsylvania, Delaware, Southern New Jersey,

         and the Eastern Shore of Maryland.

      2. Philadelphia Yearly Meeting is located at:

         1515 Cherry Street

         Philadelphia, PA 19102

      3. The Yearly Meeting is legally incorporated as a church and a 501(c)(3).




                                           1
 Case 8:25-cv-00243-TDC      Document 1-7     Filed 01/27/25   Page 3 of 10



4. A Yearly Meeting in the Quaker religion is an association, a yearly

   gathering, and the way of describing Quakers within a certain region.

5. Philadelphia Yearly Meeting has met continuously since 1682.

6. Philadelphia Yearly Meeting played a central role in the history of the

   freedom of religious exercise in this country. Philadelphia Yearly Meeting

   started the year after William Penn established Pennsylvania. As a Quaker,

   Penn was all too familiar with the religious discrimination that Quakers

   faced in England and other colonies, including Massachusetts.

7. In 1701, Penn established the Charter of Privileges, which guaranteed

   freedom of worship in Pennsylvania. The Charter of Privileges became one

   of the foundations of the protections for religious freedom in the First

   Amendment to the United States Constitution.

8. In 1804, the Friends built the Arch Street Meeting House on land granted

   by William Penn to the Friends. Philadelphia Yearly Meeting owns Arch

   Street Meeting House, the largest in the world, which is the location of a

   local congregation (monthly meeting) and Philadelphia Yearly Meeting’s

   gathering of members.

9. Philadelphia Yearly Meeting gathers at Arch Street Meeting House two

   times yearly for worship and to make decisions about issues that affect the

   constituent quarterly and monthly meetings.

10. Because of size constraints at Arch Street Meeting House, Philadelphia

   Yearly meeting has its primary annual gathering on a college campus.



                                      2
 Case 8:25-cv-00243-TDC      Document 1-7     Filed 01/27/25   Page 4 of 10



11. Monthly meetings are the heart of the Quaker community. Legally and

   practically, they are the constituent parts that make up the Yearly Meeting.

12. All Philadelphia Yearly Meeting’s constituent monthly meetings are asked

   to send an annual report, called the State of the Meeting, to Philadelphia

   Yearly Meeting. A committee of Philadelphia Yearly Meeting reads the

   reports, complies them into a single report, and reports on them at our

   annual gathering in the summer.

13. In the past, when an issue of concern arises in a State of the Meeting report,

   the committee contacts the monthly meeting to offer it support and

   guidance.

14. Monthly meetings fund Philadelphia Yearly Meeting. Approximately 1/4 of

   the budget of Philadelphia Yearly Meeting comes from monthly meetings.

15. A loss of members would harm the monthly meetings and Philadelphia

   Yearly Meeting.

16. Philadelphia Yearly Meeting does not have its own congregation in the same

   way that a monthly meeting does. Rather, Philadelphia Yearly Meeting is

   the interconnection of Friends from across all the meetings into larger

   community to support and care for one another and the community as a

   whole. It gathers three times annually for worship, fellowship, advocacy,

   and decision-making about the development of the Quaker faith (called

   “sessions”). It also gathers Friends and meetings together throughout the




                                      3
 Case 8:25-cv-00243-TDC      Document 1-7     Filed 01/27/25   Page 5 of 10



   year in a variety of programs, communications channels and gathering for

   mutual spiritual and practical support and growth.

17. When we meet, the Yearly Meeting has its own clerk and the community as

   a whole guides Philadelphia Yearly Meeting’s religious development and

   service in the world.

18. Philadelphia Yearly Meeting’s gatherings are attended by members and

   attenders of monthly meetings throughout Philadelphia and others

   interested in exploring or developing ties with the Quaker faith.

19. Our gatherings are open to anyone who wants to attend. Some events at the

   gatherings are geared toward the public in addition to our members. I know

   of times at past gatherings in which non-Quakers attended those events

   then decided to stay for our worship sessions. We did not know the

   immigration status of those attendees, and we would never ask.

20. Philadelphia Yearly Meeting would never turn anyone away from our

   gatherings based on their immigration status, and we do not ask about

   immigration status.

21. Because Quakers believe that any and every person can experience God

   directly in a way that should be shared with others, we encourage and

   welcome people from all walks of life.

22. In 2014, Philadelphia Yearly Meeting adopted a series of strategic directions

   that reflect this belief and highlight our connections to immigrant

   populations.



                                     4
 Case 8:25-cv-00243-TDC       Document 1-7         Filed 01/27/25   Page 6 of 10



23. The first strategic direction is connecting:

      We will share among us the wisdom, creativity, and resources of
      our meetings and Friends, so they may resonate throughout the
      whole community and allow us to thrive in relationship with the
      Divine. Individuals and meetings will give time, gifts, and
      experience in service, and in turn receive new insight, grounding,
      and friendships, directly and indirectly enriching their meetings
      and their own spiritual lives.

      We will connect Friends across the geography of PYM and with
      Friends from the wider world, in order to carry our concerns
      together. We will do this in a manner that allows everyone to
      participate in the life of the community.

24. Another strategic direction is belonging:

      Because we are all interconnected, we seek to increase a sense of
      belonging to an extended family of Friends. To be effective and
      whole, we need each other. Our personal experience of being a
      Friend is deepened by worshipping, discerning business, and
      sharing community beyond our home meetings. Friends of all
      ages, locations, and interests will have ways of entering the
      community and will feel glad they’ve participated.

      We will look courageously into the roots of inequity in our culture,
      be willing to see and feel the pain it can cause and choose to do
      whatever is necessary to take risks and to change. We will
      dismantle imposed barriers in our yearly and monthly meeting
      structures and activities, which impede our experience of God
      within our communities and within ourselves. We seek to make
      the congregations inside of our meetinghouses reflect the beauty
      and diversity of the world outside of them.

25. Although Quakers generally do not proselytize, it is essential to encourage

    others for whom this path is meaningful to join us.

26. Philadelphia Yearly Meeting engages with the non-Quaker community in

    various ways. For example, there are groups within Philadelphia Yearly


                                       5
 Case 8:25-cv-00243-TDC      Document 1-7     Filed 01/27/25   Page 7 of 10



   Meeting—called collaboratives—that work with people outside the Quaker

   community to address issues including the Middle East as well as racial and

   environmental justice. That work brings Philadelphia Yearly Meeting

   members into relationships with people from all walks of life who then learn

   about our faith.

27. Philadelphia Yearly Meeting, like Quakers generally, understand ourselves

   as a global community.

28. The global connection is not hypothetical or theoretical. Friends World

   Committee for Consultation conducts a worldwide Quaker census every

   decade (of which Philadelphia Yearly Meeting was a part). There are

   Quakers in 87 different countries.

29. Our beliefs, combined with the global nature of the Quaker faith, brings us

   into close relationship with immigrant populations.

30. For example, one of our monthly meetings developed a close relationship

   with a family of East Africans who are Quaker and lived in a refugee camp

   in Syria before relocating to the United States. The family began its own

   Quaker congregation, which is not a part of Philadelphia Yearly Meeting,

   but meets in the meeting house of the monthly meeting that is part of

   Philadelphia Yearly Meeting.

31. Another Philadelphia Yearly Meeting monthly meeting is located in an area

   with a high immigrant population. That monthly meeting is very involved in

   the local community, including through working with organizations made



                                     6
 Case 8:25-cv-00243-TDC      Document 1-7      Filed 01/27/25   Page 8 of 10



   up of immigrants. The monthly meeting does not inquire as to anyone’s

   immigration status.

32. Our extensive work in our communities—especially with those most in

   need—is a way that people learn about, and become interested in, the

   Quaker faith.

      My role in the Philadelphia Yearly Meeting and my faith

33. I am the General Secretary of Philadelphia Yearly Meeting. The position is

   roughly equivalent to that of Executive Director for the organization.

34. As General Secretary, I serve as the legal agent and representative of

   Philadelphia Yearly Meeting.

35. The position of General Secretary answers to councils, which together

   function like a Board of Directors.

36. Philadelphia Yearly Meeting has 25 full- or part-time staff.

37. I have been in my position for 10 years.

38. I have been employed in various positions in the Quaker faith since 1997.

39. I am an active member in the Religious Society of Friends through my

   membership at Chestnut Hill Friends monthly meeting.

40. I started attending Chestnut Hill Friends in 1995 and became a member in

   1999.

41. A core part of my Quaker beliefs is that we must be open and welcoming to

   anyone who wants to join us in worship. I believe that a broader




                                      7
 Case 8:25-cv-00243-TDC      Document 1-7        Filed 01/27/25   Page 9 of 10



   representation of lived experience—including those of immigrants,

   regardless of their legal status—is critical to exercise of my faith.

42. I believe that any immigration-enforcement action at a Quaker house of

   worship would cause serious harm to the religious exercise of Philadelphia

   Yearly Meeting and its member monthly meetings. And I believe that the

   threat of immigration-enforcement actions at a Quaker house of worship

   causes serious harm to the religious exercise of Philadelphia Yearly Meeting

   and its member monthly meetings.

43. Quakers have held a religious commitment against violence in all forms as a

   founding principle of the faith.

44. I have never seen a weapon in a Quaker meeting. The presence of a weapon

   in a Quaker meeting would be absolutely unacceptable.

45. I understand the immigration-enforcement officers generally are armed.

46. I believe that the presence of armed officers at a meeting would cause

   significant harm to our religious exercise.

47. Knowing that immigration enforcement can happen at a monthly meeting,

   at any of our worship events throughout the year, or at our annual

   gathering, I cannot be as encouraging of immigrants joining us for worship.

   As much as their presence would benefit our religious experience, I do not

   feel comfortable knowing that their attendance could subject them to armed

   federal officers.




                                      8
 Case 8:25-cv-00243-TDC     Document 1-7     Filed 01/27/25   Page 10 of 10



48. I believe that Department of Homeland Security’s new immigration-

   enforcement policy burdens Philadelphia Yearly Meeting’s ability to pursue

   its strategic directions of connecting and belonging, which are rooted in

   Quaker faith.



  Philadelphia, Pennsylvania
  January 25, 2025                                    Christie Duncan-Tessmer




                                     9
